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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

In re:                                                  Case No. 19-30106-KKS
                                                        Chapter 7
Carl Sims,



         Debtor.


    ORDER APPROVING CHAPTER 7 TRUSTEE’S APPLICATION TO
    RETAIN BK GLOBAL REAL ESTATE SERVICES AND SIMMONS
      REALTY GROUP INC TO PROCURE CONSENTED PUBLIC
      SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330 (Doc. 27)

         THIS MATTER came before this Court upon the Chapter 7 Trustee’s Notice

and Application to Retain BK Global Real Estate Services and Simmons Realty

Group Inc to Procure Consented Public Sale pursuant to 11 U.S.C. § § 327, 328 and

330 (Doc. 27) (the “Application”), the Court having reviewed and considered the

Notice, Application, and Affidavit of Disinterestedness and finding good and

sufficient cause, and the same to be in the best interest of the Debtor and the

Creditors, it is

         ORDERED:

           1.   The Application is APPROVED;

           2.   The Trustee is authorized to retain and compensate BKRES and the

local licensed Listing Agent to provide the necessary professional assistance and

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representation required by the Trustee to fulfill the Trustee’s duties pursuant
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to 11 U.S.C. § 704 in order to procure Secured Creditor’s Consent, and otherwise

market and sell the Property, in Debtor’s Chapter 7 case pursuant to Sections 327,

328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014 and 2016, in

accordance with the terms and conditions set forth in the BKRES Agreement, the

Listing Agreement, and this Order. BKRES and Listing Agent shall not split or

otherwise share their fees with any other person or entity unless specifically

approved by this Court;

        3.   BKRES and Listing Agent shall be compensated in accordance with the

BKRES Agreement and Listing Agreement, respectively, and such compensation

shall not hereafter be subject to challenge except under the standard of review set

forth in Section 330 of the Bankruptcy Code;

        4.   BKRES and Listing Agent are authorized to receive and retain their

fees from Secured Creditor at the successful closing of the sale of the Property

without necessity of further order of the Court. In no circumstance shall the Estate

be obligated to compensate or reimburse BKRES or Listing Agent in such event,

and BKRES and Listing Agent shall not have a claim against the Estate for any

unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through, or

under either of them, shall only have recourse for recovering its fee from Secured

Creditor. The Estate shall have no liability for any such claim;




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        5.   Trustee is authorized to engage BKRES and Listing Agent to provide
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reasonable and necessary property preservation, maintenance, and upkeep services

to the subject Estate Property to facilitate the sale of the Property for the benefit of

the Secured Creditor(s) and bankruptcy estate, and to reimburse the Brokers in a

maximum amount not to exceed $500.00 for the approved reasonable, necessary

costs and expenses of preserving, or disposing of, the subject Property, without the

need for further Order only upon a sale of the Property;

        6.   Defined terms not otherwise defined herein have the meanings given to

them in the Application and the Affidavit; and,

        7.   This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.


                                  April 24, 2019
             DONE and ORDERED on ____________________.




                                        ____________________________________
                                        KAREN K. SPECIE
                                        Chief U.S. Bankruptcy Judge


       Trustee, Mary W. Colόn, is directed to serve a copy of this order on interested
parties and file a proof of service within three (3) days of entry of the order.


Submitted By:
Mary W. Colόn, Esq.,
Chapter 7 Trustee

Amended in Chambers.




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